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                               Exhibit 63



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                Case 1:01-cv-12257-PBS Document 6528-64 Filed 09/22/09 Page 2 of 5
Reed, Larry - March 20, 2008 09:00:00 a.m.




     1:1                      UNITED STATES DISTRICT COURT

       2                  FOR THE DISTRICT OF MASSACHUSETTS

       3     - - - - - - - - - - - - - - -

       4     IN RE:     PHARMACEUTICAL           )   MDL NO. 1456

       5     INDUSTRY AVERAGE WHOLESALE          )   CIVIL ACTION

       6     PRICE LITIGATION                    )   01-CV-12257-PBS

       7     THIS DOCUMENT RELATES TO            )

       8     U.S. ex rel. Ven-a-Care of          )   Judge Patti B. Saris

       9     the Florida Keys, Inc.              )

      10           v.                            )   Chief Magistrate

      11     Abbott Laboratories, Inc.,          )   Judge Marianne B.

      12     No. 06-CV-11337-PBS                 )   Bowler

      13     - - - - - - - - - - - - - - -

      14                (captions continue on following pages)

      15

      16                                     Washington, D.C.

      17                                     Thursday, March 20, 2008

      18                                     9:00 a.m.

      19

      20         Videotaped deposition of LARRY REED as 30(b)(6)

      21             witness for the UNITED STATES OF AMERICA

      22




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     2:1                        IN THE CIRCUIT COURT OF

       2                       MONTGOMERY COUNTY, ALABAMA

       3     - - - - - - - - - - - - - - -

       4     STATE OF ALABAMA,                 )

       5                     Plaintiff,        )

       6           vs.                         )   Case No. CV-2005-219

       7     ABBOTT LABORATORIES, INC.,        )   Judge Charles Price

       8     et al.,                           )

       9                     Defendants.       )

      10     - - - - - - - - - - - - - - -

      11

      12             IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

      13                             STATE OF HAWAII

      14     - - - - - - - - - - - - - - -

      15     STATE OF HAWAII,                  )

      16                     Plaintiff,        )   Case No.

      17           vs.                         )   06-1-0720-04 EEH

      18     ABBOTT LABORATORIES, INC.,        )

      19     et al.,                           )   JUDGE EDEN

      20                     Defendants.       )   ELIZABETH HIFO

      21     - - - - - - - - - - - - - - -

      22




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  193:1      state plans authorize payment for drugs based on AWPs,

       2     regardless of whether those prices are inflated, we

       3     have concerns with the statement that the state and

       4     Medicaid have 'overpaid' for drugs."        Do you see that?

       5           A.      I do see that.

       6           Q.      So what CMS is saying here is even though

       7     the AWPs might be higher than acquisition costs,

       8     because state plans and federal regulations allow that

       9     it's improper to say that Medicaid has overpaid for

      10     drugs, correct?

      11                   MS. MARTINEZ:     Objection, form.

      12           A.      Again, I'm only skim reading pretty much

      13     along with you.       But it appears to be that the OIG's

      14     problem -- or that OIG's concern, if you will, isn't

      15     necessarily overpayments but the use of AWP.        And

      16     CMS's response is AWP, even if you consider it to be

      17     inflated, still is used by the agencies.        Those

      18     agencies may discount that AWP.        And the simple use of

      19     AWP doesn't necessarily mean that Medicaid has

      20     overpaid for those drugs.

      21           Q.      Mr. Reed, do you recall discussions within

      22     CMS about the topic of whether or not payments based




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  194:1      upon inflated AWPs were resulting in overpayments?

       2           A.      I think certainly there was interest in

       3     looking at AWPs to look at how -- what they

       4     represented, what they continued to represent.         And

       5     again, just as something that we learned more about

       6     over time, and even ultimately what other measures we

       7     might choose.      And I think kind of the result of that

       8     concern is eventually the use of AMPs in the Deficit

       9     Reduction Act, for example, for the FULs program and

      10     for those to be made publicly available.

      11           Q.      Is there any other interpretation on this

      12     language here that you'd like to provide?

      13           A.      And again, I'm reading this quickly as

      14     you're presenting it to me.        I'm not saying that there

      15     isn't another interpretation.        That's how I would look

      16     at it at this point.

      17                                     (Exhibit Abbott 770,

      18                                     Exhibit Abbott 771,

      19                                     Exhibit Abbott 772,

      20                                     Exhibit Abbott 773,

      21                                     Exhibit Abbott 774, and

      22                                     Exhibit Abbott 775




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